                       Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 1 of 10 Page ID #:510



                                  1   DAVID A. ROSENFELD, Bar No. 058163
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                                  5           drosenfeld@unioncounsel.net
                                  6   Attorneys for COMMUNICATIONS WORKERS OF
                                      AMERICA, AFL-CIO, CLC
                                  7
                                  8                       UNITED STATES DISTRICT COURT
                                  9                      CENTRAL DISTRICT OF CALIFORNIA
                                 10
                                 11   U.S. EQUAL EMPLOYMENT                      No. 2:21-CV-07682 DSF-JEM
                                      OPPORTUNITY COMMISSION,
                                 12
                                                              Plaintiff,         OBJECTION TO PROPOSED
                                 13                                              CONSENT DECREE AND
                                                                                 REQUEST FOR FAIRNESS
                                 14        v.                                    HEARING
                                 15   ACTIVISION BLIZZARD, INC.,
                                      BLIZZARD ENTERTAINMENT, INC.,
                                 16   ACTIVISION PUBLISHING, INC., and
                                      KING.COM, INC., and DOES ONE
                                 17   through TEN, inclusive,
                                 18                           Defendants.
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WEINBERG, ROGER &
   ROSENFELD
 A Professional Corporation
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       (510) 337-1001
                                        Case No. 2:21-CV-07682 DSF-JEM
                      Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 2 of 10 Page ID #:511



                                  1           The Communications Workers of America which represents a number of
                                  2   Activision current and former employees requests that the Court grant and schedule
                                  3   a fairness hearing with respect to the proposed Consent Decree. The
                                  4   Communications Workers of America believes that there are a number of serious
                                  5   deficiencies in the proposed Consent Decree and the Union would like those
                                  6   deficiencies addressed at a fairness hearing. Generally a union has standing to raise
                                  7   such issues. See. Social Services Union Local 535 v. County of Santa Clara, 609
                                  8   F.2d 944 (9th Cir 1079).
                                  9           Attached as Exhibit A is a copy of a letter sent to the EEOC detailing those
                                 10   deficiencies.
                                 11
                                 12
                                      Dated: October 12, 2021                  WEINBERG, ROGER & ROSENFELD
                                 13                                            A Professional Corporation
                                 14
                                 15                                      By:          DAVID A. ROSENFELD
                                 16                                            Attorneys for COMMUNICATIONS
                                                                               WORKERS OF AMERICA, AFL-CIO,
                                 17                                            CLC
                                 18   152496\1212046

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WEINBERG, ROGER &                                                                 1
   ROSENFELD
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                                         Case No. 2:21-CV-07682 DSF-JEM
                       Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 3 of 10 Page ID #:512



                                  1                                  PROOF OF SERVICE
                                  2         I am a citizen of the United States and resident of the State of California. I
                                  3   am employed in the County of Alameda, State of California, in the office of a
                                  4   member of the bar of this Court, at whose direction the service was made. I am
                                  5   over the age of eighteen years and not a party to the within action.
                                  6         On October 12, 2021, I served the following documents in the manner
                                  7   described below:
                                  8    OBJECTION TO PROPOSED CONSENT DECREE AND REQUEST FOR
                                                         FAIRNESS HEARING
                                  9
                                            (BY U.S. MAIL) I am personally and readily familiar with the business
                                 10          practice of Weinberg, Roger & Rosenfeld for collection and processing of
                                             correspondence for mailing with the United States Postal Service, and I
                                 11          caused such envelope(s) with postage thereon fully prepaid to be placed in
                                             the United States Postal Service at Emeryville, California.
                                 12
                                            BY ELECTRONIC SERVICE: By electronically mailing a true and correct
                                 13          copy through Weinberg, Roger & Rosenfeld’s electronic mail system from
                                             kshaw@unioncounsel.net to the email addresses set forth below.
                                 14
                                 15   On the following part(ies) in this action:
                                 16
                                      Anna Y. Park, Regional Attorney                  Nakkisa Akhavan
                                 17
                                      Los Angeles District Office                      U.S. Equal Employment
                                 18   U.S. Equal Employment                            Opportunity Commission
                                      Opportunity Commission                           Los Angeles District Office Legal Unit
                                 19
                                      255 East Temple Street, Fourth Floor             255 East Temple Street 4th Floor
                                 20   Los Angeles, CA 90012                            Los Angeles, CA 90012
                                      Anna.park@eeoc.gov                               nakkisa.akhavan@eeoc.gov
                                 21
                                 22   Christian Schreiber                              Monique Olivier
                                      Olivier Schreiber & Chao LLP                     Olivier Schreiber & Chao LLP
                                 23   201 Filbert Street, Suite 201                    201 Filbert Street Suite 201
                                 24   San Francisco, CA 94133                          San Francisco, CA 94133
                                      christian@osclegal.com                           monique@osclegal.com
                                 25
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                                        Case No. 2:21-CV-07682 DSF-JEM
                       Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 4 of 10 Page ID #:513



                                  1   Rachel Bien                                   Taylor M. Markey
                                  2   Olivier Schreiber and Chao LLP                U.S. Equal Employment Opportunity
                                      1149 North Gower Street Suite 215             Commission
                                  3   Los Angeles, CA 90038                         Legal Unit
                                  4   rachel@osclegal.com                           225 East Temple Street 4th Floor
                                                                                    Los Angeles, CA 90012
                                  5                                                 taylor.markey@eeoc.gov
                                  6
                                      Ryan D. Derry                                 Elena R. Baca
                                  7   Paul Hastings LLP                             Felicia A. Davis
                                  8   101 California Street                         Paul Hastings LLP
                                      Forty Eighth Floor                            515 South Flower Street
                                  9   San Francisco, CA 94111                       Twenty-Fifth Floor
                                 10   ryanderry@paulhastings.com                    Los Angeles, CA 90071-2228
                                                                                    elenabaca@paulhastings.com
                                 11                                                 Feliciadavis@paulhastings.com
                                 12
                                 13
                                 14
                                            I declare under penalty of perjury under the laws of the United States of
                                 15
                                      America that the foregoing is true and correct. Executed on October 12, 2021, at
                                 16
                                      Emeryville, California.
                                 17
                                 18                                           Katrina Shaw
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WEINBERG, ROGER &                                                               3
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Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 5 of 10 Page ID #:514




                        EXHIBIT A




                        EXHIBIT A
               Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 6 of 10 Page ID #:515

                                                                                                                                         1375 55th Street
                                                                                                                             Emeryville, California 94608
                                                                                                                           TELEPHONE: (510) 337-1001
                                                                                                                            FACSIMILE: (510) 337-1023
                                                                                                                                      David A. Rosenfeld
                                                                                                                             drosenfeld@unioncounsel.net

           STEWART WEINBERG
           DAVID A. ROSENFELD
             WILLIAM A. SOKOL
                                         October 6, 2021
                 ANTONIO RUIZ
          MATTHEW J. GAUGER
              ASHLEY K. IKEDA
         LINDA BALDWIN JONES
             PATRICIA A. DAVIS
             ALAN G. CROWLEY             VIA ELECTRONIC MAIL
         KRISTINA L. HILLMAN ♣
            BRUCE A. HARLAND
CONCEPCIÓN E. LOZANO-BATISTA
             CAREN P. SENCER
                    ANNE I. YEN
            KRISTINA M. ZINNEN
                                         Anna Y. Park – anna.park@eeoc.gov
        JANNAH V. MANANSALA
         MANUEL A. BOÍGUES▼              Nakkisa Akhavan – nakkisa.akhavan@eeoc.gov
         KERIANNE R. STEELE♣
         GARY P. PROVENCHER
          EZEKIEL D. CARDER►
                                         Taylor Markey – taylor.markey@eeoc.gov
                   LISL R. SOTO
               JOLENE KRAMER
                CAITLIN E. GRAY
                                         U.S. Equal Employment Opportunity
             TIFFANY L. CRAIN♣
             XOCHITL A. LOPEZ            Commission
       ________________
                                         255 East Temple Street, Fourth Floor
         DAVID W.M. FUJIMOTO
       ALEXANDER S. NAZAROV
            JERRY P.S. CHANG
                                         Los Angeles, CA 90012
         ANDREA C. MATSUOKA
      KATHARINE R. McDONAGH
           BENJAMIN J. FUCHS♠
            WILLIAM T. HANLEY
              ABEL RODRIGUEZ
                COREY T. KNISS
                                         Re: U.S. Equal Employment Opportunity Commission v. Activision Blizzard, Inc., et al.
                BISMA SHAHBAZ
          SEAN W. McDONALD◄
           DANIELA A. ARCHILA
                                             USDC Central District Case No. 2:21-CV-07682 DSF-JEM
           ALAINA L. GILCHRIST
              MATTHEW J. ERLE
               KARA L. GORDON
             P. ANN SURAPRUIK
     MAXIMILLIAN D. CASILLAS▲
                                         Dear Counsel:
          CRAIG L. SCHECHTER

       ________________

       OF COUNSEL
                                         This office represents the Communications Workers of America, which is in contact with a
           ROBERTA D. PERKINS            large number of employees of Defendants in the above-referenced case.
                  NINA FENDEL
          ROBERT E. SZYKOWNY
                ANDREA K. DON
               LORI K. AQUINO

      ________________
                                         The employees and CWA recently learned of the Proposed Consent Decree involving these
                                         Defendants.
                 Admitted in Hawaii
♣           Also admitted in Nevada
▼
►
             Also admitted in Illinois
      Also admitted in New York and      We have grave concerns over the scope and extent of that Consent Decree.
                              Alaska
♠        Also admitted in Minnesota
◄           Admitted in Nevada and

▲
                        Washington
              Also admitted in Idaho     Please provide notice to the undersigned at the following email addresses of any further
                                         proceedings in this matter:

                                         drosenfeld@unioncounsel.net

                                         courtnotices@unioncounsel.net

                                         We are concerned about the following issues and would like a response from your office about
                                         these issues:

                                            1. Why were the employees not consulted prior to the agreement of the proposed Consent
                                         Decree? These EEOC standards regarding Consent Decree Decrees require communication
                                         with employees who are affected by a Consent Decree before entering into any proposed
                                         Consent Decree.

                                            2. The Consent Decree has a reference to waivers. We have not seen any potential
                                         waivers, and we are concerned that they be limited to the narrow allegations of the complaint
                                         and do not affect any private right of action or claim under state law, other federal laws or
                                         other laws or regulations.


                                   LOS ANGELES OFFICE                          SACRAMENTO OFFICE                     HONOLULU OFFICE
                               800 Wilshire Boulevard, Suite 1020               431 I Street, Suite 202         220 South King Street, Suite 901
                                 Los Angeles, CA 90017-2607                  Sacramento, CA 95814-2341             Honolulu, HI 96813-4500
                              TEL 213.380.2344 FAX 213.443.5098           TEL 916.443.6600 FAX 916.442.0244   TEL 808.528.8880 FAX 808.528.8881
Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 7 of 10 Page ID #:516
                                                                       Anna Y. Park
                                                                   Nakkissa Akhavan
                                                                      Taylor Markey
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  3. The settlement amount of 18 million dollars seems woefully inadequate. This would provide the
     maximum settlement for only 60 workers. If any significant number of workers received the
     maximum under federal law, there would be little available for many other workers adversely
     affected. We are concerned about how the EEOC got to that number and how it believes that
     number will be fairly distributed. Please explain.

  4. This proposed Consent Decree seems to be an attempt to preempt the parallel suit brought by the
     Department of Fair Employment and Housing under California law. California law provides for
     greater remedies, and the DFEH seems much more willing to aggressively and effectively pursue
     litigation. Please explain why this Consent Decree was suddenly entered into shortly after the
     DFEH’s complaint was filed and has become active. Do you plan to seek input from the DFEH?
     Why was this not coordinated with the DFEH?

  5. The Consent Decree requires notice to the employees. We have not seen that form or notice, so
     please provide any proposed notice.

  6. The Consent Decree refers in several parts to “retaliation.” We are concerned that retaliation will
     encompass claims under state law and other federal laws such as the National Labor Relations Act.
     Please explain how you intend to limit any waiver to retaliation under Title VII.

  7. The Consent Decree refers to “Activision Publishing and its related subsidiaries and
     companies….” See p. 1: 18. We do not have a definition of what “related subsidiaries and
     companies” in the Consent Decree covers. Please explain.

  8. We are concerned that this provides for non-admissions clauses. See Consent Decree pp. 2:1-9 and
     5:17-19. Given the scope, breadth, long term nature and seriousness of the allegations, we do not
     understand why the EEOC gave these Defendants a pass of non-admissions clauses. Please
     explain.

  9. The Consent Decree seems to cover “Defendants, as well as their parents, subsidiaries, officers,
     directors, agents, successors and assigns.” See Consent Decree p. 2:15-16. Does this Consent
     Decree then absolve the individuals from any further liability? Please explain. How will notice be
     given to them to assure compliance?

  10. The Consent Decree contemplates that individuals who receive any settlement will be required to
      sign a waiver or release of some kind. Please provide a copy of any such release or waiver so that
      we can insure that it is limited to the specific allegations of the complaint and of the EEOC’s
      authority. We want to make sure it does not waive any other claims under federal or state law or
      other applicable law.

  11. We have not seen a copy of any claim form. Will you please provide us a copy of any proposed
      claim form. We would like to make sure it is understandable and accurate.

  12. We would like to have some input into the hiring of any “EEO Consultant.” We are concerned to
      make sure that the consultant is independent, knowledgeable and vigorous.
Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 8 of 10 Page ID #:517
                                                                       Anna Y. Park
                                                                   Nakkissa Akhavan
                                                                      Taylor Markey
                                                                     October 6, 2021
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  13. We also would like to know how the EEOC will determine whether someone is an “eligible
      claimant” as defined in the Consent Decree. Please explain how you intend to determine the “list
      of potential claimants.” See Consent Decree p. 4:20-21. What about misclassified workers under
      state or federal law? As I have indicated, CWA is in contact with a large number of individuals.
      The DFEH is in contact with many individuals. How do you intend to incorporate any individuals
      that we know about, former employees and all people who were adversely affected by the illegal
      practices of Defendant so that they are entitled to submit a claim form?

  14. Provide us a copy of charge number 480-2018-05212 so we can see the scope of any release. The
      proposed Consent Decree would provide that “[n]othing is this Decree constitutes, nor should be
      construed as constituting, the imposition of any penalty against Defendants.” See Consent Decree
      p. 5:20-21. We do not understand why there is that language in this Consent Decree given the fact
      that the conduct is so egregious. The Consent Decree and its monetary penalty should be
      considered a penalty.

  15. We object to an automatic expiration of the Consent Decree. It should expire only upon court
      approval with notice to all affected claimants. See Consent Decree p. 6:21-24.

  16. We are concerned that the Consent Decree agrees that attorneys for the Defendant can be present
      when the EEOC interviews “any person who possesses privileged information regarding the topic
      of the interview.” See Consent Decree, p. 8:1-2. Many of the employees will have what the
      Defendants assert to be “privileged information,” and this will give the Defendants the right to
      have any attorney present. Employees have a Section 7 right under the National Labor Relations
      Act not to have a representative of the company present. This will make those interviews
      intimidating and virtually useless. Furthermore, the provision does not provide that those
      interviews will be on paid work time.

  17. The Consent Decree gives a large amount of discretion to the proposed Claims Administrator. See
      Consent Decree p. 10:2-11:2. We think this is too much discretion, and our concern that the EEOC
      should negotiate stricter guidelines and/or maintain stricter control over the duties of the claims
      administrator. We want input into the selection of the Claims Administrator or it should be a
      public process.

  18. We are concerned that the Consent Decree limits the amount of information which will be posted
      on the website and available on recorded messages. See Consent Decree p. 11:13-14. Please
      explain why there is such a limit. Workers have a Section 7 right to post unlimited information
      about workers’ conditions, and this may serve to limit that right.

  19. We would like to see any proposed “Notice of Settlement” and “Claim Form” as provided for in
      the Consent Decree at page 12:11-13. We want to have input in any such forms.

  20. The claim procedure will provide for an effort to contact claimants who did not receive initial
      mailings. We would like to know if the EEOC will share the information of those whom the
      EEOC has not been able to initially locate so the CWA can provide any additional information in
      order to locate additional claimants.
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                                                                       Anna Y. Park
                                                                   Nakkissa Akhavan
                                                                      Taylor Markey
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  21. The EEOC intends to establish “general criteria for scoring claims made through Claim Forms.”
      See Consent Decree p. 13:26-27. We would like to know how the EEOC intends to develop those
      “general criteria” and to score claims. We would like input into that process to assure a fair
      distribution and fair remedies. We want a transparent process without sacrificing potential
      confidentiality concerns.

  22. The EEOC negotiated an hourly rate of $450.00 an hour for one hour for an Eligible Claimant to
      consult a private attorney. See Consent Decree p. 15:3-8. That is wholly inadequate. It is not the
      going rate for skilled and competent attorneys who specialize in these areas in Southern California
      or in other areas where the employees work. Furthermore, one hour is not adequate for any
      competent attorney to review the Consent Decree and the facts of each individual employee’s case.
      No attorney will agree to such a limit because it would constitute malpractice. This seems to be a
      complete and utter disregard for what would be a meaningful consultation paid for by the
      Defendants.

  23. The Consent Decree provides for the employment of an “Equal Employment Opportunity
      Consultant.” See Consent Decree p. 20:20-23:8, CWA would like input into that decision. Does
      the EEOC have any proposed consultants? Can we evaluate them?

  24. We have the same questions about the hiring of an Internal EEO Coordinator. See Consent Decree
      p. 23:9-25:8. Do we have input into the hiring and/or approval of who the internal coordinator will
      be. Why just one?

  25. The Consent Decree provides for the Defendants to submit “Workplace Policies and Procedures.”
      See Consent Decree p. 27-28:4. We would like to see a copy of any such policies. The employees
      are entitled to see those policies and procedures. When can we see them, and when can we
      evaluate them and have any input into whether they are lawful or serve the purposes of the Consent
      Decree? We want to make sure they do not interfere with Section 7 rights and the right to organize
      and state laws.

  26. The Consent Decree provides for the establishment of an Internal Complaint Investigation
      Procedure.” See Consent Decree p. 30:4-5. Again, CWA would like to see a copy of any such
      procedure to insure that it is fair and does not interfere with other federal and state rights, including
      rights that were forwarded under the National Labor Relations Act.

  27. The Consent Decree provides “that the confidentiality of the complaint, complainant, and
      investigation shall be maintained to the fullest extent possible.” See Consent Decree p. 32:1-4.
      We are concerned that this may be construed to prohibit employees from talking about unlawful
      conduct, harassment and investigations among themselves. This is conduct protected by Section 7
      of the National Labor Relations Act.

  28. The Consent Decree provides that the Defendants have submitted information about training
      programs and that they will institute “Compliance Trainings.” See Consent Decree pp. 33:6-34:37-
      13. We are concerned that those trainings are adequate and also that they incorporate training to
      employees as well as managers about the workplace rights of employees. This must include
Case 2:21-cv-07682-DSF-JEM Document 20 Filed 10/12/21 Page 10 of 10 Page ID #:519
                                                                        Anna Y. Park
                                                                    Nakkissa Akhavan
                                                                       Taylor Markey
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                                                                               Page 5

        Section 7 rights under the National Labor Relations Act as well as other rights under state and
        federal law. Employees should be specifically advised of their right to organize for the means of
        preventing further discrimination. Why is this not being coordinated with the General Counsel of
        the National Labor Relations Board?

    29. Two hours training of “Human Resources (“HR”) employees” is woefully inadequate. See
        Consent Decree p. 34:17-23. It should be required semi-annually, and workers should be allowed
        to attend.

    30. The Consent Decree should include training of workers about how to respond to the illegal and
        improper conduct alleged in the Complaint. This should include training with respect to how to
        report retaliation and the scope of the Consent Decree.

    31. Employer representatives should be required to read a summary of the Consent Decree to workers.

        We look forward to a prompt response to these inquiries. We expect to have additional inquiries
        regarding this matter as we consult with the employees regarding the scope and effect of the
        Proposed Consent Decree.

        Please take no further action without giving CWA an opportunity to comment. Please, as I
        indicated, provide notice to this office of any further filings or any further action in this matter.

                                                       Sincerely,


                                                       David A. Rosenfeld

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